Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 1 of 36 PagelD 1

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Middle District of Florida

United States of America )
v. )
) Case No.
BRYAN ROGER BYERS 3:25-mj- \O- STH
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 2, 2025 in the county of Duval in the
Middle District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 922(g)(3) Possession of a firearm by an unlawful user of a controlled substance

This criminal complaint is based on these facts:

See Affidavit.

@M Continued on the attached sheet.

Complainant’s signature

Chad Lifsey, SA, ATF

Printed name and title

Sworn to before me and signed in my presence.

UG ee

Date: <1
V Judge-sSienature
City and state: Jacksonville, Florida Samuel J. Horovitz, United States Magistrate Judge

Printed name and title
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 2 of 36 PagelD 2

CRIMINAL COMPLAINT AFFIDAVIT

I, Chad Lifsey, being duly sworn, and appointed as a Special Agent with the
Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”), hereby make the
following statement in support of the attached criminal complaint.

I. Introduction and Agent Background

1. Iam a Special Agent for ATF and have been employed with ATF since
May 2017. lam a graduate of the Federal Criminal Investigator Training Program
and ATF Special Agent Basic Training Program at the Federal Law Enforcement
Training Center in Brunswick, Georgia. I have successfully completed investigative
training courses in the field of narcotics investigations/operations and firearms
investigations.

2. I have been assigned to the ATF Jacksonville Field Office since
December 2017. As an ATF agent, I am authorized to investigate violations of
United States law and to execute warrants issued under the authority of the United
States. In this role, I have participated in many firearms-related investigations, many
times as the primary investigating case agent, and other times I have assisted and
supported other law enforcement officers in their firearm investigations. These
investigations include but are not limited to, matters involving domestic and
international firearm trafficking, unlicensed firearms dealing, straw purchasing

investigations, unlawful possession of firearms and ammunition, firearms being used.
Case 3:25-mj-01168-SJH Documenti_ Filed 04/03/25 Page 3 of 36 PagelD 3

in furtherance of drug trafficking crimes, and unlawful possession of firearms not
registered in the National Firearms Registration and Transfer Record (NFRTR).!

3. Prior to my employment with ATF, I was employed as a police officer
in Columbus, Georgia for over ten years, where I served as a patrol officer, narcotics
investigator, and a patrol supervisor. During my time as a narcotics investigator, I
received specialized training to include drug enforcement, investigation of drug
traffickers, drug recognition and terminology, clandestine labs investigator training,
undercover operations, interviewing techniques, financial/money laundering
training, and formal and on-the-job training in the area of electronic surveillance. I
am familiar with and have used a variety of investigative methods, including
management of confidential informants, visual surveillance, electronic surveillance,
informant interviews, interrogations, social media investigations, and undercover
operations.

4. The information set forth in this affidavit is based on my personal
knowledge, as well as information obtained from other sources, either involved in the
investigation or who have personal knowledge of the facts herein. Because this
affidavit is submitted for the limited purpose of establishing probable cause, I have

not included every detail of every aspect of the investigation for this affidavit.

' The NFRTR is the central registry of all NFA firearms in the U.S. which are not in the possession or under
the control of the U.S. Government. The registry includes (1) the identification of the firearm, (2) date of
registration, and (3) identification and address of the person entitled to possession of the firearm (the person to
whom the firearm is registered).
Case 3:25-mJ-01168-SJH Document1 Filed 04/03/25 Page 4 of 36 PagelD 4

Rather, it only includes the information necessary to support a finding of probable
cause.

3 In the course of my duties as a special agent (SA) for ATF, Iam
investigating the unlawful possession of firearms and ammunition by Bryan Roger
BYERS hereinafter “BYERS.” This affidavit relates to that investigation.

Il. STATEMENT OF PROBABLE CAUSE

6. On October 11, 2024, I reviewed a Jacksonville Sheriff's Office (JSO)
police report, which documented the JSO firearm arrest of K.C. I also reviewed the
body camera footage of all officers involved in the arrest of K.C.

7. I reviewed the arrest report and found that, in summary, on September
10, 2024, at approximately 11:15 a.m., JSO Narcotics Tact Team 4 was conducting
city wide buy bust operations. During that operation, a JSO Officer made contact
with a suspect at the Econo Lodge, located at 5624 Cagle Road, Jacksonville, FL
32216. K.C. was also at the Econo Lodge and had been interacting with the suspect
that same morning. When the suspect and the undercover JSO officer completed a
drug transaction, the arrest signal was given for JSO officers to descend upon the
Econo Lodge.

8. When the arrest signal was given, K.C., who was still on the Econo
Lodge property, began running away from officers on foot. As K.C. fled, detectives
observed K.C. throw a black bag on the ground. K.C. was apprehended after a foot

pursuit and the black bag was recovered.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 5 of 36 PagelID5

9. According to the body camera footage and the police report I reviewed,
the bag was searched by a detective and contained a black Taurus G3C pistol with an
extended magazine and 20 rounds of ammunition, with one round found
chambered. After identifying K.C., officers discovered K.C. was a felon, and he was
then placed under arrest on state charges.

10. On September 11, 2024, JSO officers requested a firearms trace?
summary from ATF. I have reviewed the firearm trace summary, and it shows the
pistol found in K.C.’s possession was purchased by Bryan Rodger BYERS on May
22, 2024, in Jacksonville, Florida.

11. Onor about October 31, 2024, I took the pistol, the extended magazine,
and the ammunition into ATF custody. That same day, ATF SA Jesse Hooker, who
is considered by our agency to be an interstate nexus expert, physically examined the
pistol and determined it to be a Taurus, Model: G3C, 9mm pistol, with the serial
number: AEH633330. SA Hooker made a report of investigation, which I reviewed
that same day, in which he determined that based on his research, knowledge, and
experience, his opinion was the pistol was manufactured in Brazil; therefore, the

pistol would have traveled in interstate and/or foreign commerce prior to BYERS

> Tracing is a systematic process of tracking the movement of a firearm from its manufacture or from its
introduction into U.S. commerce by the importer through the distribution chain (wholesalers and retailers), to
identify an unlicensed purchaser. That information can help to link a suspect to a firearm in a criminal
investigation and identify potential traffickers. Firearms tracing can detect in-state, interstate, and international
patterns in the sources and types of crime guns.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 6 of 36 PagelD 6

purchasing it.

12. On December 12, 2024, ATF SA Dan McKay and I sought to interview
BYERS to ask if he had given or sold the pistol to K.C. The time to crime (TTC)°
was 104 days. Based on my experience, 104-day TTC can be indictive of firearms
trafficking, including but not limited to straw purchasing" of a firearm.

13. SA McKay and I attempted to locate BYERS at his residence located at
10550 Baymeadows Road #1007, Jacksonville, Florida, with no success. I then
located BYERS’s longtime partner, J.M., who worked at a nearby grocery store. I
briefly interviewed J.M., and she confirmed BYERS phone number was xxx-xxx-
3955. I made several unanswered calls to BYERS and left a voicemail. J.M. reported
Byers worked at the U.S. Post Office downtown.

14. On December 12, 2024, at approximately 2:50 pm, ATF SA Faith
Justice and I were able to meet with and interview BYERS after contacting the
United States Postal Inspector Service. The interview took place in the lobby of the
U.S. Post Office located at 1100 Kings Road, Jacksonville, FL 32203.

15. During the interview, I showed BYERS a copy of the ATF Firearm

Trace Summary from the pistol found on K.C. I asked BYERS if he remembered

> Time to crime refers to the period of time (measured in days) between the first retail sale of a firearm and law
enforcement’s recovery of that firearm.

+ A “straw purchase” is an illegal firearm purchase where the actual buyer of the gun, being unable to pass the

required federal background check or desiring to not have his or her name associated with the transaction, uses
another person who can pass the required background check to purchase the firearm on his/her behalf.
Case 3:25-mj-01168-SJH Documenti_ Filed 04/03/25 Page 7 of 36 PagelD 7

purchasing the pistol from U.S. Patriot Firearms, LLC (U.S. Patriot). BYERS stated
he remembered the purchase and added that U.S. Patriot does inexpensive transfers
of firearms.

16. Texplained to BYERS that the pistol had been recovered by law
enforcement and that I wanted to know if he had sold or transferred the pistol to
anyone. BYERS reported he did not sell or transfer the pistol to anyone. BYERS
reported he was involuntarily committed to a mental health facility and that the door
to his home was unlocked when he was taken there. BYERS stated someone must
have entered his apartment and taken the firearm. BYERS stated that when he was
taken away, his girlfriend was not home to lock the door.

17. Tasked BYERS if he surrendered his firearms to JSO during his
commitment to which he answered in the affirmative. I asked BYERS if he
reacquired his firearms back from JSO and he replied in the affirmative.

18. lTasked BYERS if he made a report with law enforcement as to the
burglary or specifically for his Taurus G3C pistol. BYERS said he had not. I asked
BYERS if any of his other firearms had been stolen. BYERS stated he would have to
do an inventory of his firearms in order to answer that.

19. Based on the nature of BYERS’s answer, I asked BYERS if he had a
drug problem. BYERS denied having a drug problem or any past criminal history.
BYERS took my telephone number and stated he would call if any other firearms

were missing. BYERS asked if he could get his Taurus G3C pistol back. I advised
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 8 of 36 PagelD 8

BYERS he could file a claim for it but needed to report the pistol as stolen, as well as
any other stolen firearms. The interview then ended.°

20. On December 13, 2024, I obtained and reviewed a JSO police report
outlining BYERS’s involuntary commitment to a mental health facility. From the
report, I learned that on July 21, 2024, BYERS voluntarily consented to the
temporary seizure of his seven firearms and ammunition. Those firearm related items
were collected by JSO and entered into JSO property. The Taurus, model G3C,
9mm pistol, bearing serial number: AEH633330, was not among the firearms JSO
recovered. I also obtained and reviewed the JSO release reports for when BYERS’s
items were returned to him. According to the reports, JSO returned BYERS’s seven
firearms on September 10, 2024, at 10:21 a.m.

21. On December 16, 2024, I received and reviewed a JSO police report,
which documented that J.-M. (BYERS’s girlfriend/partner) reported a theft of her
vehicle. The report stated that on July 22, 2024, at 10:06 p.m., JSO responded to
BYERS’s and J.M.’s residence at 10550 Baymeadows Road #1007, Jacksonville,
Florida, in Jacksonville, Florida. Officers spoke with J.M., who reported she
returned from vacation on that date and did not find her vehicle, a 2015 Honda
Accord, where she had left it.

22. J.M. reported she found a piece of paper covering her camera enabled

> As of March 7, 2025, I performed a law enforcement database check (LINX), a database in which JSO
reports into, and found that BYERS has not reported any firearms stolen since 2014 (JSO Report # 2014-
156121).
Case 3:25-mj-01168-SJH Documenti_ Filed 04/03/25 Page 9 of 36 PagelD 9

doorbell and upon entering her apartment she encountered M.B. JSO officers
discovered from a previously reported incident, which I also reviewed, that on July
21, 2024, at 6:40 a.m. M.B and S.L. were the complainants on a call to JSO for
mental health services for BYERS, which led to his involuntary commitment to a
mental health facility.

23. According to the July 22, 2024 JSO report, the investigating JSO officer
contacted Riverpoint Behavior Unit, in Jacksonville, Florida and confirmed BYERS
was involuntarily committed.

24. Supplemental JSO reports that I reviewed stated that on July 24, 2024,
JSO located J.M.’s 2015 Honda Accord, at Hometown Inn and Suites, located at
4940 Mustang Road, Jacksonville, FL 32216. The vehicle was recovered but JSO
was not able to locate and question S.L. or M.B.

25. 1am familiar with the Hometown Inn and Suites mentioned in the JSO
supplemental reports and know that location is considered a high crime area by
ATF, specifically for arrests related to drug possession and firearm sales. I am aware
of several ATF investigations that have involved this hotel and that K.C.’s arrest
location, the Econo Lodge on Cagle Road, is only two miles away from this
Hometown Inn and Suites.

26. Onor about December 17, 2024, I conducted a query of the national
criminal information center for S.L and M.B. I learned that both individuals are

convicted felons.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 10 of 36 PagelD 10

27. Onor about December 18, 2024, K.C. was indicted by a federal grand
jury in the Middle District of Florida, which charged him with Possession of a
Firearm by a Convicted Felon, in violation of 18 U.S.C. §§ 922(g)(1) and 924(e). An
arrest warrant was issued and on January 9, 2025, K.C. was arrested by bailiffs at the
Duval County Courthouse during a state court hearing. I responded to the Duval
County Courthouse to take custody of K.C. and to transport him to federal court for
his initial appearance. ATF Task Force Officer (TFO) Derek Pratico assisted me in
the arrest and transport.

28. lalso interviewed K.C. at that time. After advising him of his
constitutional rights, I asked K.C. where he got the Taurus pistol. K.C. replied,
"Bryan BYERS." K.C. explained that BYERS was a "druggy." K.C. reported that
BYERS sold the gun to him for "like $100.00." K.C. reported he paid for the firearm
in cash and drugs. When asked what type of drugs, K.C. stated "he do crack." K.C.
reported he has known BYERS for a while and BYERS had been smoking crack
during that time.

29. K.C. reported this firearm transaction occurred at BYERS's apartment
in Baymeadows. K.C. could not remember the name of the apartment. K.C. also
reported that BYERS regularly “deals” with sex workers and that K.C. sells his
firearms to anybody.

30. lLasked TFO Pratico, who had no knowledge of any potential suspects

in two photographic lineups, to present them to K.C. They reviewed the first lineup,
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 11 of 36 PagelD 11

containing a photograph of M.B., but K.C. reported no one was familiar to him.
K.C. reviewed the second lineup and identified S.L.

31. K.C. stated he knew S.L. from around the Baymeadows area. I asked
K.C. if S.L. was a party to the firearm transfer between BYERS and K.C.. He
replied, "yeah." K.C. explained S.L. was with BYERS when he went to the
apartment. K.C. explained that he would go over to BYERS to "chill" and BYERS
would “smoke.” Based on my training and experience and the context of the
conversation, I understood him to mean BYERS would smoke crack cocaine. K.C.
stated BYERS asked him if he wanted any of his merchandise and K.C. told him yes.
K.C. said he gave BYERS cash, but that BYERS would take anything that would
"make the girls trick."

32. K.C. stated he thinks BYERS handed him the firearm directly during
the exchange.

33. Lexplained to K.C. that BYERS had an incident where he was
committed to a mental health facility. K.C. stated he had heard about it and was told
BYERS had tried to kill himself. K.C. explained the firearm transfer occurred before
BYERS’s commitment. K.C. stated BYERS already had the firearm, in that BYERS
did not buy it specifically for K.C. (i.e. BYERS did not straw purchase the firearm
specifically for him).

34. Ireviewed BYERS’s ATF Form 4473 that he signed in connection with

his receipt of the Taurus pistol and advised K.C. that the firearm was purchased on
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 12 of 36 PageID 12

May 29, 2024. BYERS was committed on or about July 21, 2024. K.C. stated he had
the firearm for about a month or two prior to his arrest on the state charges. Again,
that arrest occurred on September 10, 2024. K.C. also confirmed that S.L. is a sex
worker.

35. K.C. denied knowing BYERS’s longtime girlfriend, J.M. When asked
where S.L. could be located, K.C. advised that he did not want to get her into
trouble. K.C. stated BYERS was aware of him being in custody.

36. K.C. stated he did not know if BYERS knew the extent of his criminal
history. K.C. stated he and BYERS met through a sex worker. K.C. explained sex
workers would often be present when he interacted with BYERS.

37. K.C. reiterated that S.L. was present when he bought the gun from
BYERS, specifically that she was in the room when it occurred. K.C. then tried to
recall if the gun deal occurred at BYERS’s apartment or if it was at a hotel on Butler
Boulevard. He thought it may have been at a Southpoint Suites hotel in that area.

38. Once inside the United States Marshal Services’ cellblock, I obtained an
unlabeled digital photograph of BYERS from BYERS’s Florida driver's license. I
allowed K.C. to view the photograph and asked if he recognized the person in the
photograph. K.C. identified the photograph as Bryan BYERS. This was witnessed by
TFO Pratico. K.C. was later remanded to the custody of the United States Marshal
Service pending trial.

39. On February 24, 2025, ATF SA Jason Slosson and I attended a proffer
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 13 of 36 PageID 13

interview with K.C., who was represented by his defense counsel. During the proffer,
K.C. reiterated much of what he said during the previous interview clarifying and
expounding upon a few points.

40. K.C. stated that he believed the gun transaction did occur at a
Southpoint Suites Hotel located at 4699 S Lenoir Ave, Jacksonville, FL 32216. K.C.
reported BYERS was there for S.L.’s services when he ran out of money. BYERS
approached K.C. about selling the firearm because he needed cash. K.C. stated he
has known BYERS for approximately three years.

41. K.C. explained that since he has been arrested, he had heard that
BYERS is trying to buy his firearms back from people he has sold them to in the
past. K.C. explained that prior to being arrested in the instant case, he directly
communicated with BYERS through phone calls and text applications.

42. K.C. reported that most contact he had with BYERS was through S.L.
and he contacted BYERS through her and vice versa. K.C.’s counsel reported she
had been in contact with S.L. Counsel stated S.L. told her she still currently has all
the communications between herself and BYERS. Defense counsel stated that S.L.
told her that she would be willing to speak with ATF agents about the incident.

43.  K.C. stated he was unsure if S.L. was still having “meet ups” with
BYERS. K.C. reported that S.L. told him BYERS has changed his phone number
since K.C.’s arrest in the instant case.

44. When asked about BYERS’s knowledge of K.C.’s criminal past, K.C.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 14 of 36 PagelD 14

stated he had previously told BYERS he had been to prison and had been out of
prison since 2019.

45. K.C. stated he had bought a few firearms from BYERS over the years
and has heard of other people trading drugs in exchange for BYERS’s firearms. K.C.
stated in the past he has obtained three to four guns from BYERS, including the
Taurus, model G3C, 9mm pistol, bearing serial number: AGG286518.

46. K.C. described BYERS as a drug addict and K.C. reported he has
personally seen BYERS use crack cocaine. K.C. reported BYERS drives a black
Chevrolet Camaro, a white Honda sedan, and a black Honda pickup truck.°®

47. K.C. reported BYERS usually kept a gun on his person. K.C. described
the firearms BYERS is known to carry as a .40 caliber or small handguns. K.C.
stated after his JSO arrest,’ BYERS tried to sell him an AR-15, but K.C. declined it.

48. K.C. advised there may be a text in S.L.’s phone in which BYERS
talked about exchanging firearms for money. K.C. stated he brought BYERS drugs
and met him in BYERS’s hotel room, and then BYERS sold him the pistol.

49, On February 25, 2025, SA Justice and I interviewed S.L. at the ATF

Jacksonville Office. K.C.’s defense counsel was present during the interview.

6 T searched the Florida Driver and Vehicle Information Database and found that BYERS has registered to him
a black, 2013 Chevrolet and a black, 2019 Honda pickup. Open-source query of the VIN numbers confirmed
the make/model of a Chevrolet Camaro and a Honda Ridgeline.

7 During his initial arrest, K.C. was detained on state charges. He was on bond prior to being arrested for the
instant case.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 15 of 36 PagelD 15

50. S.L. reported she has known BYERS for two years. She reported they
met each other through drug use. S.L. admitted to being a drug user. S.L. reported
that BYERS uses crack cocaine exclusively. S.L. reported her relationship with
BYERS typically consisted of BYERS buying drugs for the both of them and then
she would have sex with him.

51. S.L. stated BYERS told her he works at the post office. S.L. positively
identified BYERS from an unlabeled photograph containing BYERS’s driver’s
license picture.

52. lasked about the night that BYERS was involuntarily committed to a
mental health facility. S.L. stated she, BYERS, and M.B. had been up all night
getting high. The following day, BYERS told them he was afraid that his girlfriend
would find out about her and M.B. He then got a shotgun and told them he was
going to kill himself.

53. S.L. stated she called the police and when they arrived, they took
BYERS into custody and the police told them it would take a few hours to get all the
guns out of the home. S.L. stated after the police left, she and M.B. stayed in
BYERS’s home.

54. I showed S.L. a photo of M.B. and she positively identified M.B.

55. | S.L. reported she has known M.B. for two to three years. S.L. stated she
believed this interaction to be the first time M.B. and BYERS had met. S.L. said one

day BYERS’s girlfriend came to the apartment, but she was not present when this
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 16 of 36 PagelD 16

happened, and M.B. never told her what occurred when BYER’s girlfriend came
back.

56.  S.L. stated J.M. reported her car stolen. S.L. reported she has text
messages from BYERS about the car and of BYERS talking about J.M.

57. | When asked about the firearm transfer that occurred between BYERS
and K.C., S.L. said she was not there when BYERS gave K.C. the firearm. S.L.
reported she assumed K.C. got the firearm from BYERS because K.C. had bought
guns from BYERS in the past. S.L. reported she understood the sale of the gun to be
for crack cocaine and not money.

58. S.L. reported she saw K.C. with the firearm at the Econo Lodge on
University Boulevard in Jacksonville, Florida. This was the same location where
K.C. was arrested with the firearm.

59. S.L. clarified that she has been present when BYERS transferred
firearms to K.C., but she can’t say for certain which specific firearm was sold during
the times she was present. S.L. said on three to four occasions she has seen BYERS
trade K.C. a firearm for drugs. S.L. also reported seeing BYERS transfer firearms to
others.

60. S.L. reported she once saw BYERS sell an AR® to a black male drug

dealer she knows as “D” at the Extended Stay hotel on Baymeadows Road in

8 An AR-15 style firearm is a lightweight semi-automatic rifle or pistol based on the COLT AR-15 design.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 17 of 36 PagelD 17

Jacksonville, Florida. She reported the transfer of the firearm was for crack cocaine.
S.L. stated she remembered because “D” did not know what to do with the firearm
because there was no gun case.

61. S.L. reported that another drug dealer she knows as J.’, who is a white
male that lives on the westside of Jacksonville, Florida, also traded drugs to BYERS
for a firearm.

62. S.L. reported BYERS’s telephone number in her phone is xxx-xxx-
3955.!° This is the only number she had for him. S.L. said in the past few weeks,
BYERS had blocked her from contacting him.

63. S.L. stated she had deleted her messages between herself and K.C. due
to him being arrested but reported she had not deleted messages with BYERS since
July 2024.

64. S.L. reported that in addition to the firearms, BYERS also sold his
prescription drugs to people on the street. S.L. reported she last saw BYERS about
two months ago, and only once since Christmas 2024. On that occasion, she
reported they used drugs together. S.L. said that she was the main person who
BYERS would get high with because she knew who to get drugs from.

65. When asked, S.L. reported BYERS was aware K.C. was a felon

because BYERS had asked her how he got bonded out of jail. S.L. stated that

° Last initial of this individual is unknown.
'0 This is the same phone number J.M. gave us for BYERS.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 18 of 36 PagelD 18

BYERS did know K.C., personally.

66. S.L. reported that she has known BYERS since mid-2023, and when
they would meet, they would get drugs, get high, and then have sex. S.L. also
reported that BYERS knows other women that also get high and have sex with him.

67. S.L. explained she met BYERS through her roommate at the time, and
after they met, BYERS came back to get high with her. S.L. stated they were using
drugs together every week to every other week until the last four to five months when
it slowed down to once or twice per month in frequency.

68.  S.L. thought BYERS’s drug activity probably slowed since he was put
in the mental health facility. S.L. said that BYERS talked to her about him getting
clean, but within a few hours wanted to get high again.

69.  S.L. stated that when K.C. got arrested at the hotel, she knew it was
BYERS’s gun that had been found on K.C. S.L. reported that on several occasions,
BYERS would transfer a firearm to someone, then comment about buying the gun
back the next day for twice the price. S.L. said she never heard of the buyback
actually occurring.

70.  S.L. stated that BYERS asked her to get into contact with “D’s”
girlfriend, to initiate getting the AR back but that BYERS never got it back.

71. S.L. was asked why BYERS would trade firearms for drugs when he
had a job and money. S.L. explained that BYERS said his bank was weird about him

pulling out money at night, so they would stop him from doing so and that is why he
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 19 of 36 PageID 19

would transfer his guns.

72. §.L. denied ever going to the gun store with BYERS but said he told her
that he purchases firearms online. S.L. also consented to ATF photographing her
text conversation thread with BYERS.

73. On or about March 4, 2025, I began reading through the S.L.’s text
messages with BYERS. The following is a summary of their communications
outlining BYERS ongoing drug use/addiction.

74. The messages began on July 15, 2024, beginning at 1:35 a.m.:

a. BYERS told S.L. that they should get a tranny, which I
understand to be a reference to a transgender sex worker.

b. S.L. asked to be picked up and said she has “2g of hard.” Based
on my training and experience, I know “hard” refers to crack
cocaine and “2g” refers to two grams of a particular substance.

c. S.L. stated she needed gas money and requested cash app for
$20.00.

d. BYERS responded, “Do it in the car?” S.L. replied, “Ya.”

e. BYERS and S.L. then discussed her ride leaving her after she got
gas. BYERS stated, “I got Zans,” possibly referring to Xanax.

75. The messages continued on July 15, 2024, at 4:37 a.m.:

a. BYERS and S.L. discuss her wanting to leave her hotel room and

situation.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 20 of 36 PagelD 20

b. BYERS asked, “Can you drop me off some stuff?” S.L. replied
that she could. S.L. told BYERS he should Uber her to him and
they can get a room and get a tranny over. BYERS asked S.L. if
she knew a tranny and she replied, two. BYERS asked, “white?”
S.L. then sent a photograph of a person.

c. BYERS and S.L. then discuss a hotel. S.L. declined the
‘“woodsprings” because she is not allowed there because she sells
SeX.

d. BYERS asked S.L. if the tranny smokes. S.L. said mostly “ice,”
but she does “hard” too. Based on my training and experience, I
know “ice” refers to methamphetamine and “hard” refers to
crack cocaine.

e. BYERS asked S.L. if she can get anyone to bring him a few
pieces. Based on the context of this conversation, I believe
BYERS was referring to crack cocaine.

76. The messages on July 19, 2024, beginning at 3:57 p.m.:

a. S.L. texted BYERS an address and told him to “come now”
because she is alone and has dope. BYERS replied, “I got Zans”
and S.L. offered a trade.

b. S.L. texted that she was supposed to get endless dope for three

days from one of her sources. S.L. told BYERS to get a pipe and
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 21 of 36 PagelD 21

brillo. Based on my training and experience, I know a pipe and
brillo are commonly used to smoke crack cocaine.

c. S.L. asked BYERS if he needed “boner pills?” BYERS replied he
has Viagra.

d. S.L. texted BYERS a photograph of what looked to be crack
cocaine pieces inside of a heart shaped container.

77. The messages on July 21, 2024,'' beginning at 3:30 a.m.:

a. S.L. messaged BYERS about wanting to party. BYERS asked
how much money. S.L. replied, “its mostly money and some
coke.” S.L. said she would throw BYERS some “hard.”

b. S.L. and BYERS argued about strangers coming into his house.

78. The messages on July 22, 2024, and July 23, 2024, consist of S.L.
messaging BYERS that she was cleaning his place and hoped he gets help. BYERS
did not respond.

79. The messages on August 8, 2024, beginning at 3:59 p.m.:

a. BYERS told S.L. that he needed his stuff back. S.L. didn’t know
what he meant. BYERS then talked about J.M.’s car being
found.

80. The messages on August 9, 2024, beginning at 10:42 a.m.:

'' This is the day BYERS was involuntarily put into a mental health facility.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 22 of 36 PageID 22

a.

S.L. talked about going to rehab and asked BYERS if he was

done partying. BYERS replied, “Yeah I think im too old.”

. S.L. asked BYERS to party with her. BYERS reported he had

Viagra. S.L. replied, “Get boner oils” “Bryan.” BYERS replied,
“Let’s party.”

BYERS stated he might be able to take off at 1:00 p.m. and asked
S.L. if she had anything good to smoke. S.L. replied, “of course.”
S.L. then sent BYERS a nude photo. S.L. asked if BYERS

wanted to have sex before he got high.

81. The messages on August 11, 2024, beginning at 10:38 a.m:

a.

S.L. asked BYERS where he was, and stated that K.C. needs to
go to the hospital. BYERS did not answer her.

BYERS later replied, “I have you stuff.” S.L. asked what stuff
and BYERS replied, Zans.

S.L. reported that K.C. was the only one who would pick her up
when the hotel wouldn’t wait for payment.

BYERS advised S.L. that he had pain pills too. S.L. told BYERS
that she was at the Econo hotel.

S.L. told BYERS that K.C. “ain’t even gonna talk to u.” BYERS
replied, “Why?” S.L. stated she told him not to ask for money or

anything.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 23 of 36 PagelD 23

f. BYERS and S.L. discussed the cops being at his door and him
not speaking to them.

g. BYERS told S.L. that he was going to check himself into River
Point Behavioral Mental Hospital.

h. S.L. asked BYERS for the pain pills that she could sell. BYERS
told her he would help.

82. The messages on August 12, 2024, beginning at 7:29 a.m.:

a. BYERS and S.L. talked about rehab and her saying goodbye.

b. BYERS told S.L. all he had was “zans” and “vics.” Based on my
training and experience, I believe vics are referring to Vicodin.

c. S.L. asked for a ride to an outcall. Based on my training and
experience, I believe an outcall referred to S.L. answering a sex
work request.

d. BYERS asked S.L. if she had a hit for him. She confirmed she
did, and he responded, “Thanks rough day.”

83. The messages on August 30, 2024, beginning at 10:19 a.m.:

a. BYERS and S.L. talked about drugs and sex and their scheduling
issues.

b. BYERS said he had pain pills at home and S.L. could have three
Zans because the rest were locked up at home in his new safe.

c. They discussed male sex medication and BYERS asked S.L. to
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 24 of 36 PagelD 24

get him a “new hitter and brillo and lighter” and he would give
her zans and a Vicodin when they meet.

d. S.L. questioned if she was talking to BYERS after he said, “Love
you.” BYERS explained it is him and added “Overlook
condominiums” “Crazy Bryan.” Based on the context, I believe
this response was to reassure S.L. she was talking to BYERS.

84. The messages on August 31, 2024, beginning at 4:00 p.m.::

a. S.L. asked BYERS if he wanted to use a sex toy. Byers said okay
and “U got candy?” S.L. replied, yes. Based on the context of the
conversation, I believe candy is coded language for narcotics.
That term is used many times throughout the thread.

b. BYERS told S.L. to just get him high. S.L. told him to not bring
the Camaro because she hated that car. BYERS said that is the
only car not in the shop.

85. The messages on September 2,2024, beginning at 4:32 p.m.:

a. S.L. sent photos of suspected crack cocaine captioned “Big ass
pieces.”

86. The messages on September 3, 2024, beginning at 1:32 a.m.:

a. BYERS told S.L. that he wants to live with her but if he did, he
would “never get off the hard.” “It’s my weakness.”

87. The messages on September 5, 2024, beginning at 5:01p.m.:
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 25 of 36 PageID 25

e.

BYERS stated the police called him and he is getting his guns
and ammo back.

BYERS stated he was happy “i get my arsenal of assault rifles
back.”

BYERS and S.L. discussed J.M.’s car being stolen and Amber’s
fingerprints.

BYERS told S.L. he came close to cracking her head with a
baseball bat because she was yelling at him so much.

BYERS told S.L. that he’s off on Tuesdays.

88. The messages on September 9, 2024, beginning at 12:38 p.m.:

a.

BYERS told S.L. that he was at the police station getting his
guns.

They talked about money for sex and party favors. BYERS
reported he was having trouble at the bank. He was waiting for
the bank to release his money. S.L. reported she needed BYERS
to cash app $175.00 because that was the cost of the “cookie.”
Based on my training and experience, I know that cookie in this
context refers to crack cocaine.

S.L. offered to sell BYERS’s pills for him and that Jeremy

wanted to buy a gun.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 26 of 36 PagelD 26

89. The messages on September 10, 2024, beginning at 1:13 p.m.:”

a. S.L. texted BYERS that K.C. got arrested. BYERS replied, he
was sorry to hear that. S.L. stated he [K.C.] is a felon, and it had
an extended clip. BYERS replied, that’s not good.

b. BYERS reported he still could not get money. S.L. stated that
Jeremy still wanted to buy a gun. BYERS replied, “Can’t do it

now.”

c. They discussed BYERS selling pills, S.L. asked for 8, and
BYERS agreed.

d. S.L. asked BYERS again if he could sell a gun to Jeremy.
BYERS asked, rifle or pistol. S.L. replied, pistol. BYERS replied
that it could be pricey.

90. The messages on September 12, 2024, beginning at 8:56 a.m.:

a. BYERS told S.L. that if she wanted pills, she would have to
come to him after work and bring cash or he would sell them to
someone else. BYERS stated he needed cash.

91. The messages on October 17, 2024, beginning at 7:08 a.m.:

a. S.L. told BYERS she was locked up for three weeks. BYERS

asked how K.C. was. S.L. stated she did not know.

12 BYERS received his firearms and ammunition back from JSO on this day at 10:21a.m.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 27 of 36 PageID 27

92. The messages on October 20, 2024, beginning at 9:07 a.m.:

a. S.L. asked if investigators came to talk to BYERS today. BYERS
did not reply.

93. The messages on November 1, 2024, beginning at 1:54 p.m.:

a. BYERS asked S.L. if she had anything good. S.L. stated she had
a xan and pain pill. S.L. sent photos of a naked woman and
BYERS stated he had 10 hydros and 20 xans, but he needed a
“hitter and brillo, and lighter.” Based on my training and
experience, I believe BYERS referred to Hydrocodone as hydros.

b. S.L. told BYERS she’s thinking crazy because of K.C. and the
gun and BYERS asking about him getting out.

c. BYERS said he was good with everyone, that it was just a bump
in the road.

94. The messages on November 3, 2024, beginning at 2:56 a.m.:

a. S.L. and BYERS talked about moving in together.

b. S.L. asked BYERS to come over at 5:00 because she’ll have
money and dope. BYERS stated he will pawn a gun when they
open, and take a Viagra.

c. S.L. told BYERS to come over because the tranny will be there.
BYERS stated he did not have any money. BYERS said he

doesn’t get paid until Wednesday. S.L. replied, “Gun.” BYERS
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 28 of 36 PageID 28

replied, “Okay.” S.L. stated she knows someone will buy one.

d. S.L. asked BYERS how much for an AR if someone bought one.
BYERS replied, “12 gauge” “Pistol grip” “400.”

e. BYERS texted S.L. a weblink for how much a Norinco Mak 90
is worth.

93. The messages on November 4, 2024, beginning at 6:43 a.m.:

a. S.L. said that her homegirl will give 3g for that AK and let
BYERS do a payment plan to get it back.

96. The messages on November 7, 2024, beginning at 8:26 p.m.:

a. BYERS told S.L. to bring him some candy, $50 worth. BYERS
sent her his address of 10550 Baymeadows Road. He told her to
call him at the box “Bryan byers” and he would buzz her in.

b. BYERS became inpatient. S.L. said “he” was serving someone
else on Baymeadows. Based on my training and experience, I
know that serving is a street slang term referring to one
selling/delivering drugs.

c. S.L. replied that the dope was left at the apartment. BYERS said
they can do it tomorrow.

d. S.L. said she had her own stuff and asked where they were going

to smoke. BYERS replied in his car.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 29 of 36 PageID 29

97. The messages on December 12, 2024,'° beginning at 4:15 p.m.:
a. BYERS asked S.L. if she had anything good.
b. S.L. replied, her trans friend will be around there at 7:00 p.m.
BYERS replied he was told to report to work at 5:00 a.m. so they
would have to do it another day.
c. S.L. offered to drop something off for BYERS, and he said,
“Yes.”
98. The messages on December 18, 2024, beginning at 11:11 a.m.:
a. S.L. told BYERS that a “Buddy with AR and shotgun said he
will take $400 for both together.” There was no reply.
99. The messages on December 27, 2024, beginning at 9:01 a.m.:
a. S.L. sent photographs of suspected crack cocaine. There was no
reply.
100. The messages on January 4, 2025, beginning at 3:00 a.m.:
a. BYERS messaged, “Deliver?” S.L. asked how much, and
BYERS replied, “80” “plus 20 for gas.” Based on my training
and experience, I know that in this context, “80” referred to the
amount of currency for a quantity of $80.00 worth of narcotics.

b. BYERS told S.L. he had some of her “favorites.” Based on the

'3 T interviewed BYERS on this date at 2:50 p.m.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 30 of 36 PagelD 30

context of the conversation and my training and experience, I
believe BYERS was referring to S.L.’s favorite narcotics.

c. S.L. stated her “dopeman” may want to buy some of the other
narcotics BYERS had.

101. The messages on January 20, 2025, beginning at 7:16 p.m., the last day
BYERS responded to S.L.:

a. BYERS told S.L., “I got some of those z u like.”

b. S.L. invited BYERS to her rented residence. BYERS declined, so
she offered to come to him.

c. BYERS stated he would have to do cash app and stated, “I need
all the hardware.” S.L. asked how much BYERS wanted.
BYERS replied “80” and advised “I have no hardware if u know
what I mean.” Based on my training and experience, I suspect
that BYERS asked for the required equipment (i.e. pipe and
brillo) commonly used to smoke crack cocaine and that he
ordered $80 worth of crack cocaine.

d. S.L. asked BYERS how many “zans” he had and if he had any
“vics.” BYERS replied, “6” and again stated, “I need all the
hardware,” “I got nothing.”

e. S.L. confirmed that she had it all.

102. Inthe communications I read, there are a few communications in
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 31 of 36 PagelID 31

which BYERS asked for a “Miami Blast.” I have come to learn that this is a slang
term that refers to a sex worker delivering crack cocaine to a man and then the man
using crack cocaine while a sex act is performed by the sex worker.

103. It should be noted, as referenced in S.L.’s text messages, when BYERS
was institutionalized, JSO had seized and later released to BYERS a
Norinco/Compasseco, MAK90 Sporter. It was returned to BYERS on or about
September 10, 2024.

104. On March 6, 2025, ATF Industry Operations Investigator (IOI)
Christian Blount was conducting an unrelated federal firearm licensee inspection of
U.S. Patriot, a federally licensed firearms dealer in Jacksonville. I asked IOI Blount
to look for firearm purchases/transfers completed by BYERS. IOI Blount reported to
me that BYERS had ordered a firearm on February 22, 2025, and it was awaiting
pickup.'* IOI Blount told me that the firearm was a GForce Arms, model: GFP3GG,
12-gauge shotgun, bearing serial number: 24ERM-1352.

105. IOI Blount also obtained past completed Firearm Transfer Records
(ATF Form 4473s) completed by BYERS and U.S. Patriot’s transfer records’® for

BYERS, which he provided to me, and that I reviewed. Of note, U.S. Patriot

4! As of March 26, 2025, BYRS has not picked up the shotgun from U.S. Patriot.

'S When firearms are bought online, the firearms must be sent to a federal firearms license dealer (FFL). The
FFL then has the purchaser fill out the ATF Form 4473 in person and does the background check on the
purchaser. If the purchaser passes the background check, the FFL transfers (gives) the firearm to the purchaser.
The FFL transfer records for an FFL shows which online store a firearm was bought from, the type of firearm
purchased, when the FFL received the firearm from the online store, and when the firearm was transferred to
the purchaser.
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 32 of 36 PageID 32

transferred to BYERS a Palmetto, model: PSA Daggar, 9mm pistol, bearing serial
number: FG206266 on or about February 24, 2025; an American Tactical Imports
(ATD, model Hybrid HGA, 5.56 mm pistol, serial number: NX024354 on or about
January 27, 2025; and a Taurus, model G3C, 9mm pistol, bearing serial number:
AGG286518 on December 16, 2024.

106. Oneach ATF Form 4473 (revised August 2023), question 21.c asked,
“Do you intend to sell or otherwise dispose of any firearm listed on this form and
any continuation sheet(s) or ammunition in furtherance of any felony or other
offense punishable by imprisonment for a term of more than one year, a federal
crime of terrorism, or a drug trafficking offense?” BYERS checked “no” to this
question. BYERS signed in block 22 and dated in block 23 certifying his answers
were true, correct, and complete.

107. Oneach ATF Form 4473, question 21.f asked, “Are you an unlawful
user of, or addicted to, marijuana or any depressant, stimulant, narcotic drug, or any
other controlled substance? Warning: The use or possession of marijuana remains
unlawful under Federal law regardless of whether it has been legalized or
decriminalized for medicinal or recreational purposes in the state where you reside.
BYERS checked “no” to this question. BYERS signed in block 22 and dated in block
23 certifying his answers were true, correct, and complete.

108. Based on BYERS’s known firearms transfers from U.S. Patriot, the

firearms and ammunition seized and released by JSO (including frames/receivers),
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 33 of 36 PagelD 33

and excluding firearms that have previously been recovered by law enforcement,
BYERS should be in possession of approximately fifteen firearms, unless he has sold
them or traded them for controlled substances.

109. On March 26, 2025, S.L. spoke to me and K.C.’s defense counsel, over
the phone. S.L. told me that on March 13, 2025, BYERS texted her from a new
phone number: xxx-xxx-9806. She stated BYERS asked her for some crack cocaine.
S.L. stated the amount was larger than he had ever requested previously, so she felt
he may be trying to set her up. She stated that later, she went to her drug dealer and
saw a sex worker she knew with BYERS meeting with the same drug dealer. S.L.
stated that she saw BYERS smoke crack cocaine while they were in each other’s
company.

110. On March 31, 2025, I obtained a warrant to search the premises of
10550 Baymeadows Road #1007, Jacksonville, Florida 32256. The search warrant
was authorized by United States Magistrate Judge, the Honorable Patricia D.
Barksdale in and for the Middle District of Florida.

111. On April 2, 2025, I conducted pre-search warrant surveillance at 10550
Baymeadows Road #1007, Jacksonville, Florida 32256. I noticed two vehicles
registered to BYERS were present at the residence.

112. Atapproximately 10:05 a.m., ATF agents and local law enforcement
officers executed the federal search warrant at 10550 Baymeadows Road #1007,

Jacksonville, Florida. SA McKay knocked and announced police presence with
Case 3:25-mj-01168-SJH Documenti1 Filed 04/03/25 Page 34 of 36 PagelD 34

intent to execute the search warrant. After a short period of time and with no

response, ATF breached the door with manual breaching equipment and

encountered J.M. ATF agents cleared the inside of the primary dwelling and J.M.

was escorted outside. BYERS was not present during the search warrant.

113.

a)

b)

d)

€)

8)

h)

A search of the residence revealed the following items:

A Palmetto State Arms, model: PA10 (frame/receiver), unknown
caliber (multicaliber), serial number: PF040078,

A Marlin, model:75-20, .22 caliber rifle, serial number: WL003934,
A Palmetto State Arms 16-inch mid length upper receiver with bolt
carrier group .556 caliber,

A Palmetto State Arms, model: PA15 (frame/receiver), unknown
caliber (multi-caliber), serial number: LW253791,

A Palmetto State Arms, model: PA10 (frame/receiver), unknown
caliber (multi-caliber), serial number: SCD922007,

A Norinco (Compasseco, Inc.), model: Mak90 Sporter, 7.62 x 39 mm
rifle, serial number: 9301347 with magazine, and one chambered
round,

A Palmetto State Arms, model: Dagger Compact, 9mm semi-automatic
pistol, serial number: FG206266 with magazine, and one chambered
round,

Multiple rounds of assorted ammunition, and
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 35 of 36 PagelD 35

i) Two suspected broken crack pipes.

114. On April 3, 2025, ATF SA Jesse Hooker, who is considered by our
agency to be an interstate nexus expert, physically examined the Palmetto State
Armory, model: Dagger Compact, 9mm caliber, semi-automatic pistol, serial
number: FG206266. SA Hooker determined that based on his research, knowledge,
and experience, his opinion was the pistol was manufactured in Connecticut or
South Carolina; therefore, the pistol would have traveled in interstate commerce
prior to being found in BYERS’s possession.

115. On April 3, 2025, BYERS went to Wild West Guns and Gold, located
at 1233-27 Lane Ave S., Jacksonville, Florida, 32205, and attempted to purchase a
firearm. BYERS filled out the ATF Form 4473 and while waiting to take possession
of the firearm, I received a notification of BYERS’s attempt.

116. On April 3, 2025, I called Assistant United States Attorney Brenna
Falzetta and advised her of these facts and she authorized BYERS’s arrest. ATF
agents then arrested BYERS at the store prior to him taking possession of the
firearm.

WW. CONCLUSION

117. Based on the foregoing facts, your affiant believes there is probable

cause to establish that on or about April 2, 2025, Bryan Rodgers BYERS is an

unlawful user of controlled substances, and did knowingly possess, in and affecting
Case 3:25-mj-01168-SJH Document1 Filed 04/03/25 Page 36 of 36 PageID 36

interstate commerce, a firearm, that is a Palmetto State Arms 9mm pistol, in
violation of Title 18, United States Code, Section 922(g)(3).

Respectfully submitted,

kA,
Chad Lifsey, Special Agent
BUREAU OF ALCOHOL,
TOBACCO, FIREARMS &
EXPLOSIVES (ATF)

Subscribed-and sworn to before me
on this 34 day of April 2025.

SAMUEL J. AOROVITZ
United States Magistrate Judge
Middle District of Florida
